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UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

LIBERTY MEDIA HOLDINGS, LLC Case No. _12-cv-00923-LRH-GWF
Plaintiff,
vs DECLARATION OF ERIKA DILLON IN

SUPPORT OF PLAINTIFF’S OPPOSITION
TO MOTION TO DISMISS FOR LACK OF

SERGEJ LETYAGIN, d/b/a PERSONAL JURISDICTION

SUNPORNO.COM; IDEAL CONSULT,
LTD.; “ADVERT”; “CASTA”;
“TRIKSTER”; “WORKER”; “LIKIS”;
“TESTER” and DOES 1-50

Defendants

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I, ERIKA DILLON, hereby declare under penalty of perjury:

1. I am over the age of 18 and am a resident of the state of Nevada.

2: I have personal knowledge of the facts herein, and, if called as a witness, could
testify competently thereto.

a I am employed by Plaintiff Liberty Media Holdings, LLC as an in-house paralegal
and online investigator, and this declaration is provided in my capacity as the latter.

4, As part of my research into this case, I created an account at SunPorno.com.

5. Once an individual creates an account on the SunPorno.com website, they are

given access to features that are not otherwise available. Users with accounts can tag videos for

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later viewing, add videos and other users to favorite sections, and perform other actions that

enhance the user experience with the website, as outlined below.

6. Upon initial registration, users choose their own username. See Dillon Dec.
Exhibit A.
7. Users automatically have profiles that include things like how many videos the

user has watched, how many videos the user has uploaded and how many other people have
watched the videos that a user has uploaded. This information is generated by the website. See
ECF 1-27 and Dillon Dec. Exhibit B. (Note that SunPorno.com no longer displays a user’s join
date, which is something that alerted the Plaintiff to the potential connection between Casta,
Trikster, likis, advert and the Defendants Serge} Letyagin and Ideal Consult, Ltd.)

8. Users are, however, given the option to add additional information to their profile,
including their name, gender, birthday, relationship status, sexual preferences, country, and
current town of residence. Furthermore, there is an open box where individuals can input
whatever information they want. Dillon Dec. Exhibit C.

9. The profile also allows users to upload a photograph or image, known as an
avatar, that will be used to identify them in conversations, comments, and other places on the
website. Dillon Dec. Exhibit C.

10. SunPorno registered users can upload videos, which are then linked to their
account. The page displaying the video lists the user’s name where it denotes who the video was
“added by.” Dillon Dec. Exhibit D.

Ll. Users are allowed to upload videos, title them, and provide subject information
like what categories their video fits into (i.e. is the video straight, gay, oral, hardcore, etc.).

Dillon Dec. Exhibit D. (Note that there is currently a suspension on the uploading of videos.)

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12. On the video pages, users can rate the quality of the video, comment on the video,
list the video as a “favorite” video, download the video, and add tags to the video. Dillon Dec.
Exhibit D.

13. SunPorno users can “friend” other users and comment on other users’ profile
pages. This allows user to interact with each other, recommend videos, ask questions about the
videos others have posted. Dillon Dec. Exhibit E. Furthermore, users can only send messages to
individuals who are their “friends.” Dillon Dec. Exhibit F.

14. Additionally, beneath each video, there is a section of the website that provides an
“embed” code, which allows individuals to place the video on another website, embedded in that
website, without requiring users to directly visit the SunPorno.com website. Dillon Dec. Exhibit
D.

15, SunPorno allows users to locate videos based on tags, keyword searches, title of
video searches, or through channels that display certain categories of pornography. SunPorno
sorts its videos by particular porn stars and types of pornography. Dillon Dec. Exhibits G, H, I.

16. SunPorno also has a section called “community” in which users can post photos
of themselves and browse the photos of other users. Dillon Dec. Exhibit J.

17. SunPorno has a tab on its main page called “live cams” which links to
Wwww.sunpornochat.com, a website that offers the opportunity to have video chats with other
SunPorno members. Dillon Dec. Exhibit K.

18. SunPorno also operates a “Sex Store” at store.sunporno.com, which allows users
to purchase videos, sexual “toys,” and lingerie. Dillon Dec. Exhibit L.

19. The “Sex Store” allows individuals to chat with customer support representatives.
I recently communicated with a representative identified as “Andrea.” Andrea informed me that

the company ships from various locations in the United States, will ship anything in the store to

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Nevada residents, and that any credit card statements would list the Los Angeles based “CNV,
Inc.” as the payee. Exhibit 17 to the Opposition.

20. The SunPorno website is highly interactive, as I personally have interacted with it.

Signed this 14 day of July, 2012 in Las Vegas, Nevada.

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Erika Dillon

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